Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 1 of 12 Page ID #:13




                     EXHIBIT “A”
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 2 of 12 Page ID #:14
                                                                           Service of Process
                                                                           Transmittal
                                                                           03/02/2015
                                                                           CT Log Number 526681510
    TO:     Carl Del Vecchio
            JPMorgan Chase Bank, N.A.
            4 Chase Metrotech
            Brooklyn, NY 11245-0003

    RE:     Process Served in California
    FOR:    JPMorgan Chase Bank, National Association (Cross Ref Name) (Domestic State: N/A)
            JPMorgan Chase Bank, N.A. (True Name)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                 Mitra Erami, individually and on behalf of other members of the general public
                                     similarly situated, Pltf. vs. JPMorgan Chase Bank, National Association, et al., Dfts.
    DOCUMENT(S) SERVED:              Letter(s), Complaint
    COURT/AGENCY:                    Solano County Superior Court, CA
                                     Case # FCS044963
    NATURE OF ACTION:                Employee Litigation - Unpaid wages - Failure to pay Overtime and Meal and Rest
                                     Breaks - Seeking Injunctive and Declaratory Relief
    ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:        By Certified Mail on 03/02/2015 postmarked on 02/26/2015
    JURISDICTION SERVED :            California
    APPEARANCE OR ANSWER DUE:        None Specified
    ATTORNEY(S) / SENDER(S):         Edward J. Wynne
                                     Wynne Law Firm
                                     100 Drakes Landing Road, Suite 275
                                     Greenbrae, CA 94904
                                     415-461-6400
    ACTION ITEMS:                    CT has retained the current log, Retain Date: 03/05/2015, Expected Purge Date:
                                     04/04/2015
                                     Image SOP
    SIGNED:                          C T Corporation System
    ADDRESS:                         818 West Seventh Street
                                     Los Angeles, CA 90017
    TELEPHONE:                       213-337-4615




                                                                            Page 1 of 1 / AB
                                                                           Information displayed on this transmittal is for CT Corporation's
                                                                           record keeping purposes only and is provided to the recipient for
                                                                           quick reference. This information does not constitute a legal
                                                                           opinion as to the nature of action, the amount of damages, the
                                                                           answer date, or any information contained in the documents
                                                                           themselves. Recipient is responsible for interpreting said
                                                                           documents and for taking appropriate action. Signatures on
                                                                           certified mail receipts confirm receipt of package only, not
                                                                           contents.
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 3 of 12 Page ID #:15

                                    WYNNE LAW FIRM
                                   100 Drakes Landing Road, Suite 275, Greenbrae, CA 94904
                              tel (415) 461-6400 fax (415) 461-3900 toll free (877) 352-6400
                                                   www.wynnelawfirm.com



                                              February 26, 2015

  Via Certified US. Mail


  Labor Workforce Development Agency
  801 K Street, Suite 2101
  Sacramento, CA 95814

  CT Corporation System
  818 West Seventh Street, 2' d Floor
  Los Angeles, CA 90017

          Re: Erami v. JPMorgan Chase Bank, N.A.

  To the Labor Workforce Development Agency and Agent for Service of Process:

         The above-noted lawsuit was originally filed on February 25, 2015, in the Superior Court
 of Solano County. Plaintiffs are seeking to amend the complaint to include allegations based on
 California Labor Code §§ 2698-2699. A copy of the filed Complaint is enclosed for reference.
 Plaintiffs claim, among other items, that they and all members of the class were misclassified as
 exempt employees and not paid overtime compensation in violation of Labor Code §§ 510 and
 1194, were not paid all of their wages at time of termination in violation of Labor Code §§ 201-
 203, and that Defendant did not maintain or provide accurate itemized statement in violation of
 Labor Code §§ 226 and 1174.

        The purpose of this letter is to satisfy the Labor Code § 2699.3 by providing notice to the
 Labor Workforce Development Agency and the employer. We look forward to determining
 whether the Labor Workforce Development Agency intends to take any action in reference to
 these claims. We kindly ask that you respond to this notice according to the time frame
 contemplated by section 2699.3.

                                                               Very truly yours,
                                                               WYNNE LAW FIRM




 EJW:hh                                                        Edward J. Wynne
 Encl.
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 4 of 12 Page ID #:16
02/25/2015 14:11        92573233067780781                 EUANS PNTG                                     PAGE 17/39




              1   Edward J. Wynne     (SRN 165819)                                 ENSPIREFUD
                  ewynnewynnelawfirm.com
              2         Plckett        (SBN 154294)                                       FEB 2 5 2015
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                  100 Drakes Landing .oad, Suite 275
           4      Oreenbrae, CA 94904
                  Telephone (415) 461-000
              5   Facsimile (415) 461-3900
           6      pinintifes Counsel


           8                                                           .•   •. •   • ••




           9
                                             SUPERIOR COURT oF CALIFORNIA
          10
                                                       SOLANO COUNTY
          II
                  MfICRA ERAMI, individually and on behalf Case No.:                FCS 044963
          12      of other members of the general public
                  similarly situated,
          13                                                COMPLAINT
          14                    Plaintiff.                   [CLASS ACTION]
                        vs_
          15
          16      IPMORGAN CHASE BANK, National              1. Labor C,ode § 1194
                  Association and DOES 1 through 50,         2. B&P § 17200- Overtime
          17      inclusive,                                 3. 13&P § 17200— Meal and Rest Breaks
                                                             4. B&P 17200— Injunction/Dec. Relief
          18                                                 5. Labor Code § 203
                               Dekndant.                     6. Labor Code § 226, 1174, 1174,5
          19
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                                                                ASSlG41iD TO,
         25
                                                             JUDGE           :m tr
                                                                       dtpiaL___
         26                                                  FOR ALL PURPOSES
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         28


                                                                                                    COMPLAINT
                                                                                                 [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 5 of 12 Page ID #:17




      1                                     GENERAL ALLEGATIONS
      2           1.      Plaintiff Mitra Erami was an Assistant Branch Manager for defendant JPMorgan

      3   Chase Bank, National Association ("Chase Bank") in the state of California within the last three
      4   years of the filing of the original complaint in this action.

      5          2.      Defendant Chase Bank is a wholly owned subsidiary of JPMorgan Chase &Co.

      6   Defendant is a bank that owns and operates retail banks in this judicial district and in the state of

      7   California. Defendant has employees with the title "Assistant Branch Manager."
      8          3.      Venue is proper in Solano County as at least some of the acts complained of

      9   herein occurred in Solano County as Defendant owns and operates banks in Solano County.
     10          4.      At all times herein mentioned, Plaintiff and the class identified herein worked as
     11   employees for Defendant in salaried positions in Defendant's branch and retail locations under
     12   the business name "Chase." At all times herein mentioned, Plaintiff and the class have been,

     13   and continue to be, domiciled in the state of California. Plaintiff is informed and believes and

     14   thereon alleges that there are less than 100 members in the proposed class. The amount in

     15   controversy including damages, restitution, attorney fees, penalties, and value of injunctive

     16   relief sought does not exceed $5,000,000. The amount in controversy for the named plaintiff
     17   including damages, restitution, pro rata share of attorney fees, penalties, and pro rata value of

     18   injunctive relief sought does not exceed $75,000.

     19          5.      At all times herein mentioned Defendant and Does 1 through 50 are and were

     20   corporations, business entities, individuals and partnerships, licensed to do business and actually
     21   doing business in the State of California, Solano County. Defendant owns and operates an
     22   industry, business and establishment in a number of separate geographic locations within the

     23   State of California, including within Solano County, for the purpose of selling banking services
     24   and products. As such, and based upon all the facts and circumstances incident to Defendant's

     25   business in California, Defendant is subject to California Labor Code §§ 1194 et seq., California

     26   Business and Professions Code § 17200 et seq., (Unfair Practices Act) and the applicable

     27   Industrial Welfare Commission Wage Orders.

     28          6.      Plaintiff does not know the true names or capacities, whether individual, partner

                                                            2
                                                                                                  COMPLAINT
                                                                                               [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 6 of 12 Page ID #:18




         or corporate, of the Defendants sued herein as DOES 1 through 50, inclusive, and for that

         reason, said Defendants are sued under such fictitious names, and Plaintiff prays leave to amend
         this complaint when the true names and capacities are known. Each of said fictitious
         Defendants was responsible in some way for the matters alleged herein and proximately caused
         Plaintiff and members of the class to be subject to the illegal employment practices, wrongs and

         injuries complained of herein.
                 7.     At all times herein mentioned, each of said Defendants participated in the doing
         of the acts hereinafter alleged to have been done by the named Defendant; and furthermore, the

         Defendants, and each of them, were the agents, servants and employees of each of the other
         Defendants, as well as the agents of all Defendants, and at all times herein mentioned, were
         acting within the course and scope of said agency and employment.
                8.      At all times herein mentioned, Defendants, and each of them, were members of,
         and engaged in, a joint venture, partnership and common enterprise, and acting within the
         course and scope of, and in pursuance of, said joint venture, partnership and common enterprise.
                9.      At all times herein mentioned, the acts and omissions of various Defendants, and
         each of them, concurred and contributed to the various acts and omissions of each and all of the
         other Defendants in proximately causing the injuries and damages as herein alleged.
                10.     At all times herein mentioned, Defendants, and each of them, ratified each and
         every act or omission complained of herein. At all times herein mentioned, the Defendants, and
         each of them, aided and abetted the acts and omissions of each and all of the other Defendants
         in proximately causing the damages as herein alleged. Further, at all times mentioned herein,
         the wage and hour related compensation policies of Defendant's branch locations in California
         are and were dictated by, controlled by, and ratified by the Defendants herein and each of them.

                                           FACTUAL ALLEGATIONS
                11.     Pursuant to California Labor Code §§ 218, 218.6, and 1194, Plaintiff may bring a
         civil action for overtime wages directly against the employer without first filing a claim with the
         California Division of Labor Standards Enforcement and may recover such wages, together
         with interest thereon, penalties, attorney fees and costs.

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                                                                                                COMPLAINT
                                                                                             [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 7 of 12 Page ID #:19




      1          12.     Plaintiff and all members of the class identified herein were regularly scheduled

      2   as a matter of uniform company policy to work and in fact worked as salaried bank employees

      3   in excess of eight hours per workday and/or in excess of forty hours per workweek without

      4   receiving straight time or overtime compensation for such overtime hours worked in violation

      5   of California Labor Code § 1194 and California Industrial Welfare Commission Wage Order 4-

      6   2001. Defendant has failed to meet the requirements for establishing the exemption because all

      7   class members (a) regularly spent more than 50% of their time performing nonexempt work, (b)

      8   did not customarily and regularly exercise discretion and independent judgment on matters of

      9   significance, (c) did not have the authority to hire or fire or make meaningful recommendations

     10   regarding same, (d) did not customarily and regularly supervise at least two employees or the
     11   equivalent, (e) did not perform work directly related to the management policies or the general
     12   business operations of Defendant or Defendant's customers, (f) did perform nonexempt

     13   production and/or sales work a majority of their time (i.e., in excess of 50%) consistent with

     14   Defendant's realistic expectations, (g) did not customarily and regularly spend more than 50%

     15   of their time away from the Defendant's places of business selling or obtaining orders or
     16   contracts, and (h) did not earn more than 50% of their compensation in a bona fide commission
     17   plan. Thus, Plaintiff and the class members were not exempt from the overtime requirements of
     18   California law for these reasons.
     19                                       CLASS ALLEGATIONS
     20          13.     This complaint is brought by Plaintiff pursuant to California Code of Civil
     21   Procedure § 382 on behalf of a class. All claims alleged herein arise under California law for

     22   which Plaintiff seeks relief authorized under California law. The class is comprised of, and
     23   defined as:
     24                  All current and former California based employees of JPMorgan
                         Chase Bank, National Association, with the title "Assistant Branch
     25                  Manager" who worked at any time from four years prior to the
     26                  time this case is filed up to the time of trial.

     27          14.     The members of the classes are so numerous that joinder of all members is
     28   impracticable. The exact number of the members of the classes can be determined by reviewing

                                                         4
                                                                                              COMPLAINT
                                                                                           [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 8 of 12 Page ID #:20




         Defendant's records.
                15.        Plaintiff will fairly and adequately protect the interests of the class and has
         retained counsel that is experienced and competent in class action and employment litigation.
         Plaintiff has no interests that are contrary to, or in conflict with, members of the class.
                16.     A class action suit, such as the instant one, is superior to other available means
         for fair and efficient adjudication of this lawsuit. The damages suffered by individual members
         of the class may be relatively small when compared to the expense and burden of litigation,
         making it virtually impossible for members of the class to individually seek redress for the
         wrongs done to them.
                17.     A class action is, therefore, superior to other available methods for the fair and
         efficient adjudication of the controversy. Absent these actions, the members of the class likely
         will not obtain redress of their injuries and Defendant will retain the proceeds of its violations of
         California law.
                18.        Even if any member of the class could afford individual litigation against
         Defendant, it would be unduly burdensome to the judicial system. Concentrating this litigation
         in one forum will promote judicial economy and parity among the claims of individual members
         of the class and provide for judicial consistency.
                19.     There is a well-defined community of interest in the questions of law and fact
         affecting the Class as a whole. Questions of law and fact common to each of the class
         predominate over any questions affecting solely individual members of the action. Among the
         common questions of law and fact are:
                           a.     Whether the class has been properly classified as exempt by Defendant
         from overtime compensation;
                           b.     Whether the class is expected to regularly work hours in excess of forty
         per week and/or in excess of eight hours per day;
                           c.     How the class is compensated; and,
                           d.     Whether the class has sustained damages and, if so, what the proper
         measure of damages is.

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                                                                                                  COMPLAINT
                                                                                               [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 9 of 12 Page ID #:21




      1                                     FIRST CAUSE OF ACTION
      2                                             (Labor Code § 1194)
      3           20.     Plaintiff incorporates the allegations contained in the previous paragraphs of this

      4   Complaint as if fully set forth herein.
      5           21.     California Wage Order 4-2001, 8 C.C.R. § 11040, and Labor Code § 510 state

      6   that an employee must be paid overtime, equal to 1.5 times the employee's regular rate of pay,
      7   for all hours worked in excess of 40 per week and/or 8 per day.
      8           22.    Class members regularly work more than 40 hours per week and/or 8 hours per
      9   day but are not paid overtime.
     10           23.    Class members do not meet any of the tests for exempt status under the
     11   California Wage Orders and/or the California Labor Code.
     12                                    SECOND CAUSE OF ACTION
     13                               (Bus. & Prof. Code § 17203 — Overtime)
     14           24.    Plaintiff incorporates the allegations contained in the previous paragraphs of this
     15   Complaint as if fully set forth herein.

     16           25.    Defendant has committed an act of unfair competition under California Business
     17   & Professions Code § 17200 et seq. by not paying the required state law overtime pay to the
     18   members of the class.

     19           26.    Pursuant to Bus. & Prof. Code § 17203, Plaintiff requests an order requiring

     20   Defendant to make restitution of all overtime wages due to the class.
     21                                    THIRD CAUSE OF ACTION
     22                        (Bus. & Prof. Code § 17203 — Meal and Rest Breaks)
     23          27.     Plaintiff incorporates the allegations contained in the previous paragraphs of this
     24   Complaint as if fully set forth herein.

     25          28.     In violation of Labor Code § 512 and IWC Wage Order 4-2001, Defendant failed
     26   to provide and document meal and rest period breaks for the class in the number, length and
     27   manner as required. At no time has the Plaintiff or the class entered into any written agreement

     28   with Defendant expressly or impliedly waiving their right to their meal and rest breaks.

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                                                                                                COMPLAINT
                                                                                             [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 10 of 12 Page ID #:22




          Plaintiff and the class have been injured by Defendant's failure to comply with Labor Code §

          512 and IWC Wage Order 4-2001 and are thus entitled to the wages set forth in Labor Code §

          226.7.
                   29.   Pursuant to Bus. & Prof. Code § 17203, Plaintiff requests Defendant make

          restitution of all wages due to the class under this Third Cause of Action.
                                          FOURTH CAUSE OF ACTION
                         (Bus. & Prof. Code § 17203 — Injunction and Declaratory Relief)
                   30.   Plaintiff incorporates the allegations contained in the previous paragraphs of this

          Complaint as if fully set forth herein.
                   31.   Plaintiff, and all persons similarly situated, are further entitled to and do seek a
          both a declaration that the above-described business practices are unfair, unlawful and/or
          fraudulent and injunctive relief restraining Defendant from engaging in any of such business
          practices in the future. Such misconduct by Defendant, unless and until enjoined and restrained
          by order of this Court, will cause great and irreparable injury to all members of the class in that
          the Defendant will continue to violate California law, represented by labor statutes and IWC
          Wage Orders, unless specifically ordered to comply with same. This expectation of future
          violations will require current and future employees to repeatedly and continuously seek legal
          redress in order to gain compensation to which they are entitled under California law. Plaintiff
          has no other adequate remedy at law to insure future compliance with the California labor laws

          and wage orders alleged to have been violated herein.
                                            FIFTH CAUSE OF ACTION
                                                    (Labor Code § 203)
                   32.   Plaintiff incorporates the allegations contained in the previous paragraphs of this

          Complaint as if fully set forth herein.
                   33.   Plaintiff and the class were discharged by Defendant or voluntarily quit, and did

          not have a written contract for employment. The Defendant, in violation of California Labor

          Code §§ 201 and 202 et seq. had a consistent and uniform policy, practice and procedure of
          willfully failing to pay the earned and unpaid wages of all such former employees. The

                                                            7
                                                                                                 COMPLAINT
                                                                                              [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 11 of 12 Page ID #:23




       1   Defendant has willfully failed to pay the earned and unpaid wages of such individuals,

       2   including, but not limited to, straight time, overtime, vacation time, meal and rest wages, and

       3   other wages earned and remaining uncompensated according to amendment or proof Plaintiff
       4   and the class did not secret or absent themselves from Defendant nor refuse to accept the earned

       5   and unpaid wages from Defendant. Accordingly, Defendant is liable for waiting time penalties

       6   for the unpaid wages pursuant to California Labor Code § 203.

       7                                     SIXTH CAUSE OF ACTION
       8                                (Labor Code §§ 226, 1174, and 1174.5)
       9          34.     Plaintiff incorporates the allegations contained in the previous paragraphs of this

      10   Complaint as if fully set forth herein.

      11          35.     Defendant, as a matter of corporate policy did not maintain or provide accurate
      12   itemized statements in violation of Labor Code §§ 226 and 1174.
      13          36.     For instance, Defendant did not state or did not accurately state, inter alia, the

      14   total hours worked, hours worked daily, or the actual hourly rate of Plaintiff and other Assistant

      15   Branch Managers in their pay statements. Defendant's failure to maintain accurate itemized

      16   statements was willful, knowing, intentional, and the result of Defendant's custom, habit,

      17   pattern and practice. Defendant's failure to maintain accurate itemized statements was not the

      18   result of isolated, sporadic or unintentional behavior. Due to Defendant's failure to comply

      19   with the requirements of Labor Code §§ 226 and 1174, Plaintiff and other Assistant Branch

      20   Managers were injured thereby.
      21          37.     Such a pattern and practice as alleged herein is unlawful and creates an

      22   entitlement to recovery by Plaintiff and the class identified herein for all damages and penalties

      23   pursuant to Labor Code §§ 226 and 1174.5, including interest thereon, penalties, attorneys' fees

      24   and costs.

      25                                       PRAYER FOR RELIEF

      26          WHEREFORE, Plaintiff, on her own behalf and on behalf of the members of the class,

      27   prays for judgment as follows:

      28          1.      For an order certifying the proposed class;

                                                           8
                                                                                                  COMPLAINT
                                                                                              [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 1-1 Filed 04/01/15 Page 12 of 12 Page ID #:24




            I          2.      For damages, penalties, restitution, attorney fees and injunctive relief as the
            2   amount in controversy not in excess of $5,000,000 for the class and not in excess of $75,000 for
            3   the named plaintiff; and,
         4             3.      For prejudgment interest.
         5
         6      Dated: February 25, 2015                    WYNNE LAW FIRM
         7
         8                                                  By:        7
         9                                                         Edward J. Wynne
                                                                   100 Drakes Landing Road, Suite 275
        10                                                         Greenbrae, CA 94904
                                                                   Telephone: 415-461-6400
        11                                                         Facsimile: 415-461-3900
        12                                                         Counsel for Plaintiff

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                                                                                                   COMPLAINT
                                                                                                [CLASS ACTION)
